3/28/2018                                           DHL: Schedule a pickup: Review
                            Case 1:17-cv-01986-RJL Document     26-2 Filed 03/28/18 Page 1 of 1
                                                                                                                         English    Contact Center     Tools     Country Profile    DHL Global    




      Express   Logistics    Mail   Press    Careers     About Us                                                                           Content Search                                   Go



                                    Schedule a Pick­up: Confirmation
                                                             Enter                                             Confirmation


                                    Pick­up scheduled for:
    My DHL Express                  Wednesday, March 28, 2018
                                    Between 10:00 am and 4:30 pm
                                    Confirmation number: 519596
     Shipping
     Tracking                       Please keep your confirmation number for your reference. If you need further assistance with this pick­up,
     Customs Services and Support   please contact us.
     Export Services                  Schedule another Pick­up
     Import Services                  Cancel request
     Optional Services
     Small Business Solutions
     Resource Center                Next time save some money.
                                    Use a DHL shipping spot, retail, drop box, or service center.
                                      Find my nearest drop­off location




https://sbw.dhl­usa.com/SchedulePickup/SchedulePickupConfirm.asp?nav=SbcPickup                                                                                                                    1/1
